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                                                              United States Bankruptcy Court
                                                               Western District of Oklahoma
In re:                                                                                                                 Case No. 23-12023-SAH
Lendon Wayne Marks, Jr                                                                                                 Chapter 7
Carolyn A Marks
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 1087-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 01, 2023                                               Form ID: 309A                                                             Total Noticed: 11
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 03, 2023:
Recip ID                 Recipient Name and Address
db/jdb                 + Lendon Wayne Marks, Jr, Carolyn A Marks, 1400 NW 12th St Apt 101, Moore, OK 73170-1031
6764174                + Bank of Ozk, c/o Jason McCart,, RRVM, 101 Park Avenue 101, Oklahoma City, OK 73102-7201
6764177                + RW Companies, 8501 S Walker, Oklahoma City, OK 73139-9445
6764179                  Tinker Federal Credit Union, PO Box 5118, Carol Stream, IL 60197-5118

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: amanda@blackwoodlawfirm.com
                                                                                        Aug 01 2023 20:52:00      Amanda R Blackwood, Blackwood Law Firm,
                                                                                                                  PLLC, 512 NW 12th Street, Oklahoma City, OK
                                                                                                                  73103
tr                     + EDI: QJDMASHBURN.COM
                                                                                        Aug 02 2023 00:55:00      John D. Mashburn, 1616 E 19th Street, Suite
                                                                                                                  301A, Edmond, OK 73013-6519
smg                       Email/Text: bankruptcy@oesc.state.ok.us
                                                                                        Aug 01 2023 20:52:00      Oklahoma Employment Security Commission, PO
                                                                                                                  Box 53039, Oklahoma City, OK 73152-3039
ust                    + Email/Text: USTPRegion20.OC.ECF@usdoj.gov
                                                                                        Aug 01 2023 20:52:00      United States Trustee, United States Trustee, 215
                                                                                                                  Dean A. McGee Ave., 4th Floor, Oklahoma City,
                                                                                                                  OK 73102-3479
6764175                + EDI: TSYS2
                                                                                        Aug 02 2023 00:55:00      Barclays Bank Deleware, 100 West Street,
                                                                                                                  Wilmington, DE 19801-5015
6764176                + EDI: AAFES
                                                                                        Aug 02 2023 00:55:00      Military Star, PO Box 740890, Cincinnati, OH
                                                                                                                  45274-0890
6764178                + Email/Text: bankruptcy@tinkerfcu.org
                                                                                        Aug 01 2023 20:52:00      Tinker Federal Credit Union, PO Box 45750,
                                                                                                                  Oklahoma City, OK 73145-0750

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
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District/off: 1087-5                                  User: admin                                               Page 2 of 2
Date Rcvd: Aug 01, 2023                               Form ID: 309A                                           Total Noticed: 11

complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 03, 2023                             Signature:       /s/Gustava Winters
                                   Case: 23-12023                  Doc: 6       Filed: 08/03/23                Page: 3 of 5

Information to identify the case:
Debtor 1              Lendon Wayne Marks Jr                                             Social Security number or ITIN        xxx−xx−9654
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2              Carolyn A Marks                                                   Social Security number or ITIN        xxx−xx−6412
(Spouse, if filing)
                      First Name   Middle Name    Last Name                             EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Western District of Oklahoma                             Date case filed for chapter 7 7/31/23
Case number: 23−12023 − SAH


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/17

      For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code.
                                  An order for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including
       information about the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

                          The staff of the bankruptcy clerk's office cannot give legal advice.
To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Lendon Wayne Marks Jr                               Carolyn A Marks
2.      All other names used in the
        last 8 years

3.      Address                                  1400 NW 12th St Apt 101                             1400 NW 12th St Apt 101
                                                 Moore, OK 73170                                     Moore, OK 73170
4.      Debtor's attorney                        Amanda R Blackwood                                  Contact phone 405−309−3600
        Name and address                         Blackwood Law Firm, PLLC
                                                                                                     Email:
                                                 512 NW 12th Street                                  amanda@blackwoodlawfirm.com
                                                 Oklahoma City, OK 73103
5.      Bankruptcy trustee                       John D. Mashburn                                    Contact phone 405−726−9795
        Name and address                         1616 E 19th Street, Suite 301A
                                                                                                     Email: ecf@mashburnlaw.net
                                                 Edmond, OK 73013
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Lendon Wayne Marks Jr and Carolyn A Marks                                                                          Case number 23−12023


6. Bankruptcy clerk's office                      215 Dean A. McGee                                           Hours open: 8:30am − 4:30pm
                                                  Oklahoma City, OK 73102
    Documents in this case may be filed at this                                                               Contact phone (405) 609−5700
    address. You may inspect all records filed
    in this case at this office or online at
    https://pacer.uscourts.gov.                                                                               Date: 7/31/23


7. Meeting of creditors                           August 30, 2023 at 10:30 AM                                 Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              Telephone Conference:
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            877−950−4428
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     Participant Code:
                                                                                                              1606685

8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                             File by the deadline to object to discharge or                       Filing deadline: 10/30/23
                                         to challenge whether certain debts are
    The bankruptcy clerk's office must dischargeable:
    receive these documents and any
    required filing fee by the following You must file a complaint:
    deadlines.                           • if you assert that the debtor is not entitled to
                                            receive a discharge of any debts under any of
                                            the subdivisions of 11 U.S.C. § 727(a)(2)
                                            through (7), or
                                                  • if you want to have a debt excepted from
                                                    discharge under 11 U.S.C. § 523(a)(2),
                                                    (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be
                                                    denied under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of
                                                  exempt. If you believe that the law does not authorize an   creditors
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.

  A Photo ID is required to enter the building. Weapons, including pocket knives, and cellphones are not permitted in the building.

Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                     page 2
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NOTICE OF TELEPHONIC 341 MEETING OF CREDITORS

DUE TO THE URGENCIES OF THE PUBLIC HEALTH CRISIS RELATED TO COVID−19, THIS
MEETING WILL BE HELD BY TELEPHONIC MEANS.

      The Debtor(s) is required to APPEAR BY PHONE at the meeting of creditors on the date and time provided
for the purpose of being examined under oath. Attendance BY PHONE by creditors at the meeting is welcomed, but
not required. The meeting may be continued or adjourned from time to time by notice at the meeting, without further
written notice to the creditors.

       Prior to the time provided, dial the telephone number and use the code provided to enter the meeting. Parties
should dial in at least five minutes prior to the start of the meeting. There is no security code and please do not select
any other feature. If the automated attendant asks for a security code, one is not required. Once connected, please
mute your phone until the case is called and disconnect when notified your meeting is completed. You are
encouraged to call from a landline if possible, to call from a quiet location, and to not use a "speaker" function or
place the call on hold (as this may cause music or other noises to play during the meetings of other participants on the
call).
     Debtor(s) is encouraged to contact your attorney prior to the meeting for more information.
DO NOT COME TO THE COURTHOUSE. THIS MEETING WILL TAKE PLACE BY TELEPHONE
ONLY.
